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              UNITED STATES COURT OF APPEALS
                   FOR THE THIRD CIRCUIT

PAUL GAMBOA-TAYLOR,           :
           Appellant          :
                              :
          V.                  :                 No. 14-9005
                              :
COMMISSIONER OF PENNSYLVANIA:
DEPT. OF CORRECTIONS, ET AL., :
             Appellees        :

APPELLEES’ UNOPPOSED MOTION FOR 60-DAY EXTENSION
  OF TIME FOR PARTIES TO FILE SUPPLEMENTAL BRIEFS

      Appellees the Commissioner of Pennsylvania Department of

Corrections, et al. (“the Commonwealth”), through undersigned

counsel, hereby respectfully request that this Honorable Court grant

a 60-day extension of time within which the parties may file their

supplemental briefs in this case, establishing a new filing deadline of

October 18, 2024. In support thereof, the Commonwealth avers the

following:

      1.     On April 21, 2015, this Court granted Appellant Paul

Gamboa-Taylor’s (“Taylor”) motion for certificate of appealability in

this capital murder federal habeas corpus case.
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        2.   At issue in this appeal is an Order entered by the United

States District Court for the Middle District of Pennsylvania, per the

Honorable Matthew W. Brann (“the District Court”), denying

Taylor’s motion for relief from judgment pursuant to Rule 60(b)(6) of

the Federal Rules of Civil Procedure.

        3.   Taylor filed his counseled brief in this Court on January

13, 2016.

        4.   The Commonwealth filed its counseled brief in this Court

on November 3, 2016.

        5.   Taylor filed his counseled reply brief on February 21,

2017.

        6.   On May 19, 2017, the parties filed supplemental briefs at

the direction of the Court.

        7.   On July 18, 2017, the parties filed supplemental letter

briefs at the direction of the Court.

        8.   On October 25, 2018, the Court scheduled oral argument

for December 12, 2018.




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      9.    On December 4, 2018, Taylor filed a counseled motion

requesting the postponement of oral argument pending the litigation

of claims in state court.

      10.   On December 7, 2018, the Court postponed oral argument

pending resolution of the ongoing state court litigation.

      11.   On June 22, 2021, the Court scheduled oral argument for

August 5, 2021.

      12.   On July 15, 2021, Taylor filed a counseled motion

requesting a continuance of oral argument.

      13.   On July 16, 2021, the Court granted that motion.

      14.   On June 10-11, 2022, the parties filed supplemental letter

briefs at the direction of the Court.

      15.   On June 15, 2022, Taylor filed a counseled motion

requesting the Court to place the proceedings in civil suspense while

additional claims were being litigated in state court.

      16.   On August 23, 2022, the Court placed the case in civil

suspense.

      17.   On June 20, 2024, Taylor notified the Court that the

previously-pending state court litigation had concluded on May 31,
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2024 and moved for leave of Court for the parties to file supplemental

briefs addressing recent developments in the law as they relate to

Taylor’s appeal that was initiated in 2015.

      18.   On June 21, 2024, the Court granted the parties leave to

file supplemental briefs no later than August 19, 2024 not to exceed

7500 words that address the impact of cases relevant to the issue

presented in this case which were decided on or after June 15, 2022.

      19.   During the period of July 7-16, 2024, undersigned counsel

for the Commonwealth was on leave traveling out of state on a

family vacation that was scheduled prior to the Court’s June 21, 2024

Order.

      20.   During the past 30 days, undersigned counsel has been

required to:   (a) participate in and supervise a large discovery

document production in the capital murder PCRA proceedings of

Commonwealth v. Kevin Marinelli in the Northumberland County

Court of Common Pleas at No. CP-49-MD-0000451-1994; (b) fulfill his

responsibilities as an administrative law judge for the Office of

Attorney General including the writing of multiple dispositive

Opinions;   and (c) prepare for filing on August 20, 2024 in the
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Superior Court of Pennsylvania a brief for appellee addressing a

constitutional issue of first impression in Commonwealth v. Joseph

Davis, No. 1038 MDA 2023.

     21.   In addition, undersigned counsel must prepare and file in

the Pennsylvania Superior Court on August 23, 2024 a brief for

appellant in the first-degree murder case of Commonwealth v. Brentt

Sherwood, No. 605 MDA 2024.

     22.   For these reasons, the Commonwealth needs additional

time beyond August 19, 2024 to prepare and file a thorough and well-

reasoned supplemental brief that will meaningfully assist the Court

in disposing of the pending claims.

     23.   Undersigned counsel has communicated with counsel for

Mr. Taylor, David Zuckerman, Esquire, and Attorney Zuckerman has

indicated that Mr. Taylor does NOT oppose the Commonwealth’s

motion for the grant of an additional 60 days for the filing of the

parties’ supplemental briefs.

     24.   Undersigned counsel certifies that this motion is being

filed in good faith and for no improper purpose.



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     WHEREFORE, Appellees hereby respectfully request that this

Honorable Court grant a 60-day extension of time within which the

parties may file their supplemental briefs in this case, establishing a

new filing deadline of October 18, 2024.

                                    Respectfully submitted,

                                    _/s/_WILLIAM R. STOYCOS
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                       CERTIFICATE OF SERVICE

 I hereby certify that I am this day serving one copy of the foregoing
   document upon the persons and in the manner indicated below:

         Via electronic filing and regular mail, postage prepaid, as follows:


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Dated: August 16, 2024




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